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for summary judgment.1           Flanagan v. New York City Department of

Education, No. 13 Civ. 8456, 2015 WL 11142630 (S.D.N.Y. Aug. 21,

2015).        Mr.   Flanagan,      who    is    African-American,      began     his

probationary teaching period at PAIHS in fall 2008 under Principal

Marcella Barros and Assistant Principal Anthony Riccardo, and

received satisfactory performance reviews during their tenure. Id.

at *1-3.        The allegedly offending conduct began in the fall

semester of 2012, when Minerva Zanca became principal at PAIHS.

Id. at *3.      According to Mr. Flanagan, he began to receive ratings

of “unsatisfactory” on teaching evaluations from Ms. Zanca and Mr.

Riccardo.       Id. at *3-4.        Mr. Riccardo asserts that Ms. Zanca

“ruthlessly targeted” Mr. Flanagan and Heather Hightower, two of

only three African-American teachers at PAIHS at the time.                 Id. at

*4.   For example, according to Mr. Riccardo, when he was assigned

to meet with Ms. Hightower to improve her pedagogy, Ms. Zanca

admonished him not to “make her a better teacher.”                      Id.      Mr.

Riccardo further attests that Ms. Zanca made several racist remarks

about Ms. Hightower and Mr. Flanagan, including likening Ms.

Hightower to a “gorilla in a sweater,” describing her hair as
“fucking nappy,” and commenting that she had noticed Mr. Flanagan’s

“big lips quivering” after he received an unsatisfactory teaching

evaluation.      Id. at *6.      The plaintiff alleges that Ms. Zanca told

her   assistant      principal    that    she    was   “building   a    record    of

observation      reports    in    order   to    oust   Mr.   Flanagan    and     Ms.

      1
      No party filed objections to the Report and Recommendation,
which the Honorable Lewis A. Kaplan, U.S.D.J., has not yet acted
on.

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Hightower, while at the same time recommending that the non-African

American probationary teachers at least have their probationary

periods extended.”       Id. at *10.     Ms. Zanca ultimately recommended

discontinuing      the   employment    of   both    Mr.   Flanagan    and   Ms.

Hightower, although the recommendation was later rescinded as to

Ms. Hightower.     Id. at *5.    In addition, the plaintiff notes that

the PAIHS theater program headed by Lisa-Erika James, the only

other African-American educator at the school, was defunded at the

end of the 2012 school year.        Id. at *5 n.3.

       On November 26, 2013, Mr. Flanagan sued the New York City

Department of Education (“NYC DOE”), Ms. Zanca, NYC DOE employee

Chatzy Preston, and Juan S. Mendez, Superintendent of Queens County

High    Schools,    alleging,    among      other   claims,    that   he    was

discriminated against on the basis of his race in violation of

Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§ 2000e et seq.; 42 U.S.C. § 1983; the New York State Human Rights
Law, N.Y. Exec. Law § 290 et seq.; and the New York City Human

Rights Law, N.Y.C. Admin. Code § 8-801 et seq.            In my prior opinion

in this case, I recommended granting the defendants’ motion for
summary judgment (1) on Mr. Flanagan’s § 1983 race discrimination

and retaliation claims against the NYC DOE, (2) on the due process

claims against all defendants, and (3) on the negligence claim

against the two individual defendants against whom it was pled.

       The Government filed its motion to intervene in this case on

June 9, 2016, a motion Mr. Flanagan has indicated he supports.

(Declaration of John Flanagan dated June 28, 2016 (“Flanagan


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Decl.”), ¶ 3).           The NYC DOE, however, does not consent to the

Government’s intervening.

      B.      United States v. New York City Department of Education

      The Government alleges a pattern and practice of retaliation

and of discrimination on the basis of race at PAIHS, as well as

racial      discrimination       and   retaliation      directed     against   Mr.

Flanagan, racial discrimination against Ms. Hightower and Ms.

James, and retaliation against Mr. Riccardo.                  (Complaint, United

States v. New York City Department of Education, No. 16 Civ. 4291

(“Federal Government Complaint”), attached as Exh. A to Declaration

of Caleb Hayes-Deats dated June 9, 2016 (“1st Hayes-Deats Decl.”),

¶¶ 51-62).       According to the complaint, prior to the 2012-2013

school year -- the school year that Ms. Zanca began serving as

principal at PAIHS, having been selected for that position by

Superintendent Mendez -- Mr. Flanagan, Ms. Hightower, Ms. James,

and Mr. Riccardo each received satisfactory performance reviews.

(Federal Government Complaint, ¶¶ 13, 15-16).                 Ms. Zanca explained

to    Mr.     Riccardo    that    creating      a    record   of    unsatisfactory

performance by giving a teacher unsatisfactory lesson reviews was

the    most     efficient    strategy     for       discontinuing    a   teacher’s

employment at a school. (Federal Government Complaint, ¶ 18). Mr.

Riccardo asserts that Ms. Zanca informed him that she intended to

give unsatisfactory reviews to lessons taught by Mr. Flanagan and

Ms. Hightower even before she observed the lessons in question.

(Federal Government Complaint, ¶ 19).                Indeed, Ms. Zanca accused

Mr. Riccardo of “sabotaging her plan” when he refused to rate one


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of Ms. Hightower’s lessons unsatisfactory.                  (Federal Government

Complaint,     ¶     26).     She    proceeded        to   give    both   teachers

unsatisfactory reviews throughout the term, and ultimately rated

them unsatisfactory for the school year -- the only untenured

teachers to receive such reviews.              (Federal Government Complaint,

¶¶ 22, 30).     The complaint also recounts Ms. Zanca’s warning that

Mr. Riccardo must not improve Ms. Hightower’s teaching, as well as

the racist descriptions of Mr. Flanagan and Ms. Hightower noted in

Mr. Flanagan’s complaint.           (Federal Government Complaint, ¶¶ 20-

21).

       Ms. Zanca also allegedly refused to pay for certain expenses

for the theater production Ms. James was mounting, including

overtime wages that were required if the students were to rehearse

for    more   than   five   hours   per       week,   although    the   school   had

sufficient money budgeted for the overtime.                 (Federal Government

Complaint, ¶¶ 24-25).       Ms. Zanca also refused to offer Ms. James a

position in the school’s summer program, although she was entitled

to such a position.         (Federal Government Complaint, ¶ 31).                She

further filed complaints against Mr. Riccardo with the NYC DOE,

which declined to bring charges.              (Federal Government Complaint, ¶

27).    In addition, after Mr. Riccardo issued a written statement

revealing Ms. Zanca’s mistreatment of the three African-American

teachers, Ms. Zanca gave him an unsatisfactory performance review.

(Federal Government Complaint, ¶¶ 32-33).                   After Mr. Flanagan

complained to Mr. Mendez that he had been discriminated against, he

was terminated.        (Federal Government Complaint, ¶¶ 35-36, 40).


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Both before and during the NYC DOE’s investigation of Ms. Zanca’s

actions, Mr. Mendez repeatedly characterized the complaints against

Ms. Zanca as untrue.       (Federal Government Complaint, ¶¶ 38-39).

       The   Government     filed   its      complaint      on   June    9,     2016

(simultaneously moving to intervene in this case).                Approximately

one week later, Ms. James and Ms. Hightower filed a motion to

intervene in the Federal Government Action and to add claims under

federal and state law against the NYC DOE, Ms. Zanca, and Mr.

Mendez.      (Memorandum of Law in Support of Lisa-Erika James and

Heather Hightower’s Motion to Intervene at 5-8 (“James/Hightower

Memo.”), United States v. New York City Department of Education,
Case   No.   16    Civ.   4291   (S.D.N.Y.    June    17,   2016);      [Proposed]

Intervenor Complaint, attached as Exh. A to Declaration of Erica L.

Shnayder dated June 17, 2016, United States v. New York City

Department of Education, Case No. 16 Civ. 4291 (S.D.N.Y. June 21,

2016) (“James/Hightower Intervenor Complaint”)). A few days later,

Mr. Riccardo filed a similar motion to intervene.                (Memorandum of

Law in Support of Anthony Riccardo’s Motion to Intervene,                     United

States v. New York City Department of Education, Case No. 16 Civ.
4291 (S.D.N.Y. June 21, 2016); [Proposed] Intervenor Complaint,

attached as Exh. C to Declaration of Noah A. Kinigstein dated June

15, 2016,     United States v. New York City Department of Education,

Case   No.    16   Civ.   4291   (S.D.N.Y.     June   21,    2016)      (“Riccardo

Intervenor Complaint”)).          The NYC DOE “does not oppose [those]

intervention motions.” (Letter of Danielle Dandrige dated June 30,

2016, attached as Exh. A to Letter of Caleb Hayes-Deats dated July


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1, 2016).

Discussion

     I address the Government’s two requests in reverse order,

because the resolution of the application to consolidate affects

the analysis of the application to intervene.

     A.      Consolidation

     Rule 42(a) of the Federal Rules of Civil Procedure empowers a

court to consolidate two or more actions if the cases “involve a

common question of law or fact.” The Government seeks to have this

action consolidated with the Federal Government Action for the

purposes of trial.          District courts have “broad discretion” when

determining      whether    to     consolidate     cases,   although       a   court’s

“paramount concern [must be] for a fair and impartial trial.”

Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d Cir. 1990).
“[W]hile ‘a district court should consider both equity and judicial

economy’    in     assessing      whether       consolidation    is    appropriate,

‘efficiency cannot be permitted to prevail at the expense of

justice’    and,    thus,       ‘consolidation     should   be   considered       when

savings of expense and gains of efficiency can be accomplished
without    sacrifice       of    justice.’”      Garnett-Bishop       v.   New    York

Community Bancorp, Inc., 299 F.R.D. 1, 5 (E.D.N.Y. 2014) (emphasis

omitted)     (quoting       Devlin     v.       Transportation        Communications

International Union, 175 F.3d 121, 130 (2d Cir. 1999)).                    Thus, the

Court should weigh the “specific risks of prejudice and possible

confusion” against (1) the risk of inconsistent adjudications, (2)

the burden on parties, witnesses, and judicial resources, (3) the


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temporal advantage gained by trying the actions together rather

than separately, and (4) the cost savings realized by holding a

single, rather than separate, trials.          Johnson, 899 F.2d at 1285

(quoting Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495

(11th Cir. 1985)); accord Garnett-Bishop, 299 F.R.D. at 5.

       This action and the Federal Government Action share “a common

question of law or fact.”         Fed. R. Civ. P. 42(a).         Indeed, as

should be clear from the discussion above, the Federal Government

Complaint includes numerous facts that are identical to those

alleged in this case.       Apparently accepting this, the defendants

recognize the efficiency of consolidating the trials in these

cases; however, they argue that consolidation would prejudice them

because it will (1) delay adjudication of their rights; (2)

“inevitably cause confusion” in light of the “range of legal issues

and standards” presented to the jury; and (3) create a perception

that the individual defendants are being sued by the United States.

(Defendants’ Memorandum of Law in Opposition to the United States

of America’s Motion to Intervene and Consolidate (“Def. Memo.”) at

21).    None of these concerns outweigh the efficiency to be gained

by consolidation.

       First, Ms. James, Ms. Hightower, and Mr. Riccardo have moved

to intervene as of right in the Federal Government Action --

applications that the Department of Education appropriately does

not oppose.    See 42 U.S.C. § 2000e-5(f)(1) (“The person or persons

aggrieved shall have the right to intervene in a civil action

brought by the Commission or the Attorney General in a case


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involving      a    government,      governmental       agency,    or    political

subdivision.”); EEOC v. Die Fliedermaus, 77 F. Supp. 2d 460, 469

(S.D.N.Y. 1999) (noting that an “aggrieved person” may intervene as

of right in a Title VII action brought by the Government and

interpose individual claims).            Those proposed complaints, like the

Federal Government Complaint, allege many of the same acts of

racial discrimination by the same actors at the same school during

the same time period as in this case. (James/Hightower Intervenor

Complaint, ¶¶ 21-27, 33-38, 40-41, 49-51; Riccardo Intervenor

Complaint, ¶¶ 18, 22-32).            Therefore, although it is true that

consolidation        will   delay    the       resolution   of    the   individual

defendants’        liability   vis   à     vis   Mr.   Flanagan,    even   without

consolidation the defendants would still be defending against

congruent claims on nearly identical facts.2

     For similar reasons, the defendants’ worry that consolidation

will cause confusion rings hollow. They recognize that, because of

the intervention applications of Ms. James, Ms. Hightower, and Mr.

Riccardo, the Federal Government Action is unlikely to be a


     2
       The defendants seem especially concerned about “further
delay[ing]” the adjudication of the rights of Chatzy Preston, who
“has not been accused of any discriminatory or retaliatory conduct”
(Def. Memo. at 11-12) and has not been named in the operative
Federal Government Complaint. However, “cases may be consolidated
where . . . there are different parties in the complaints.” Brown
v. Moralles, Nos. 14 CV 1382, 14 CV 2932, 2014 WL 6610992, at *5
(E.D.N.Y. Nov. 18, 2014). More importantly, Ms. Preston’s only
involvement in the conduct at issue in this case related to the
negligence cause of action, which I have recommended be dismissed.
Flanagan, 2015 WL 11142630, at *15.       Although the Report and
Recommendation could have been clearer on this issue, I intended
that the dismissal of that negligence claims would dismiss Ms.
Preston from the litigation.

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“streamlined process,” but rather will include “a range of legal

issues and standards.”        (Def. Memo. at 21).           But they do not

explain how consolidating Mr. Flanagan’s case with the Federal

Government Action will add complexity. Indeed, their protestations

of anticipated difficulties are merely conclusory: they insist that

the differing claims will “inevitably cause confusion and prejudice

to the existing parties” (Def. Memo. at 21 (emphasis added)),

relying on an adverb to do the work of factual and legal support.

And there is no explanation as to why carefully crafted jury

instructions could not mitigate any confusion or prejudice.                 See
Garnett-Bishop, 299 F.R.D. at 5-6 (“The ‘risk of confusion or

prejudice   [is]    avoided   in   [a]     consolidated   action    where   [a]

district court use[s] “intelligent management devices” such as

thought[ful]       verdict    forms      and   cautionary     and    limiting

instructions.’” (first four alterations in original) (quoting

Augustin v. Jablonsky, 99 CV 3126, 2001 WL 770839, at *16 (E.D.N.Y.

March 8, 2001), rev’d and remanded on other grounds sub nom. In re

Nassau County Strip Search Cases, 461 F.3d 219 (2d Cir. 2006))).

Moreover, even if the applications for intervention pending in the
Federal Government Action are denied, that litigation would still

include evidence of discrimination against Mr. Flanagan, Ms. James,

Ms. Hightower, and Mr. Riccardo, as such evidence is “relevant to

show a policy of intentional discrimination.”               United States v.

City of New York, 717 F.3d 72, 84 (2d Cir. 2013); (Reply Memorandum

of Law in Further Support of the United States of America’s Motion

to Intervene and Consolidate (“Reply”) at 3).


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      Finally, I agree with the Government that the individual

defendants’ fear of the perception that they are being sued by the

Government is not a cognizable prejudice.                (Reply at 6).      As it

points out, Congress has expressly permitted individual plaintiffs

to intervene as of right in Title VII actions brought by the

Government. 42 U.S.C. §2000e-5(f)(1). Such intervening plaintiffs

will often assert claims against individual defendants.                  (Reply at

6).    It    is       unlikely,   then,   that    Congress   believed    that   the

perception    of       Government    enforcement     would   impair     individual

defendants’ rights.

      By contrast, separate trials present the risk of inconsistent

adjudications on remarkably similar facts.                   In particular, Ms.

Hightower and Mr. Flanagan were similarly situated as non-tenured

teachers at PAIHS and allegedly subjected to similar campaigns at

the hands of Ms. Zanca.             Moreover, as the defendants recognize,

consolidating the cases will be more efficient, both in time and

expense.      (Def. Memo. at 21).                The cases will therefore be

consolidated for trial.

      B.     Intervention
             1.        Legal Standard

      Title VII gives a court discretion to allow the Attorney

General, “upon timely application,” to intervene in a civil action

“involving        a    government,    governmental     agency,    or     political

subdivision” where, as here, the Government certifies “that the

case is of general public importance.”              42 U.S.C. § 2000e-5(f)(1);

(1st Hayes-Deats Decl., ¶ 3).              Similarly, Rule 24(b)(2) of the


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Federal Rules of Civil Procedure allows a federal agency to

intervene in a civil action “[o]n timely motion” where a claim at

issue is based on a statute administered by the agency.                      Before

granting such permissive intervention, “the court must consider

whether    the    intervention       will     unduly   delay   or    prejudice   the

adjudication of the original parties’ rights.”                      Fed. R. Civ. P.

24(b)(3); accord In re Holocaust Victim Assets Litigation, 225 F.3d

191, 202 (2d Cir. 2000).             Courts in the Second Circuit take a

“‘hospitable attitude’ toward ‘allowing a government agency to

intervene in cases involving a statute it is required to enforce.’”

Disability Advocates, Inc. v. Paterson, No. 03 CV 3209, 2009 WL
4506301, at *2 (E.D.N.Y. Nov. 23, 2009) (quoting Blowers v. Lawyers

Co-operative Publishing Co., 527 F.2d 333, 334 (2d Cir. 1975) (per

curiam)); see also 7C Charles Alan Wright et al., Federal Practice

and Procedure § 1912, at 472 & n.10 (3d ed. 2007) (noting that

courts “allow[] intervention liberally to governmental agencies

. . . seeking to speak for the public interest,” and collecting

cases).

             2.        Timeliness
        An application for intervention, “[w]hether . . . claimed of

right or as permissive, . . . must be ‘timely.’”                           National

Association for Advancement of Colored People v. New York, 413 U.S.

345, 365 (1973); accord MasterCard International Inc. v. Visa

International Service Association, 471 F.3d 377, 391 (2d Cir.

2006); see also Chen-Oster v. Goldman, Sachs & Co., No. 10 Civ.

6950,    2015     WL    4619663,    at   *5      (S.D.N.Y.   Aug.   3,   2015)   (“An


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application for intervention may be granted only if it is promptly

made: ‘a threshold consideration under Rule 24(b), as under Rule

24(a), is timeliness.’” (quoting United States v. Pitney Bowes,

Inc., 25 F.3d 66, 74 (2d Cir. 1994))).          “[T]he determination of

whether a motion to intervene is timely must be ‘evaluated against

the totality of the circumstances before the court.’”              Kamdem-

Ouaffo v. Pepsico, Inc., 314 F.R.D. 130, 134 (S.D.N.Y. 2016)

(quoting D’Amato v. Deutsche Bank, 236 F.3d 78, 84 (2d Cir. 2001)).

Although the length of time the proposed intervenor had actual or

constructive knowledge of its interest in the case is an important

consideration, see Catanzano by Catanzano v. Wing, 103 F.3d 223,
232 (2d Cir. 1996), “[t]he timeliness requirement is not intended

as a punishment for the dilatory and the mere lapse of time by

itself does not make an application untimely.”           7C Charles Alan

Wright et al., Federal Practice and Procedure § 1916 (3d ed. 2007)

(footnotes omitted).       Rather, courts should also consider any

prejudice to the existing parties resulting from the delay and

prejudice to the applicant if the request is denied, as well as any

unusual circumstances counseling in favor or against a finding of
timeliness.     See Laroe Estates, Inc. v. Town of Chester, __ F.3d
__, __, 2016 WL 3615777, at *4 (2d Cir. 2016).

      The trick in evaluating delay is to determine the event that

activates     the   proposed    intervenor’s   “obligation   to   seek    to

intervene.”    Chen-Oster, 2015 WL 4619663, at *6.        Generally, this

will require “identify[ing] with precision the interest that will

be   deemed   sufficient   to   trigger   [that]   obligation”    and   then


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“determin[ing] when the intervenor had the requisite knowledge of

that interest.”        Id.    The defendants contend that the Government

was aware of its interest in the “allegations of discrimination and

retaliation at PAIHS in September 2014 when the [Equal Employment

Opportunity Commission (‘EEOC’)] transmitted the charges of Ms.

Hightower, Ms. James[,] and Mr. Riccardo to the [Department of

Justice].” (Def. Memo. at 8; Email of Caleb Hayes-Deats dated May

9, 2016, attached as Exh. 9 to Declaration of Danielle Dandrige

dated June 23, 2016 (“Dandrige Decl.”)).                      But that contention

ignores two salient facts.            First, the Government here seeks to

intervene in the case filed by Mr. Flanagan, not the cases filed by

Mr. Riccardo or Ms. James and Ms. Hightower.                    The EEOC did not

report Mr. Flanagan’s charges to the Civil Rights Division of the

Department of Justice; rather, it administratively closed Mr.

Flanagan’s file, noting that he had filed an action in federal

court. Flanagan, 2015 WL 11142630, at *7; (Dismissal and Notice of
Rights dated Feb. 4, 2014, attached as Exh. 7 to Dandrige Decl.).

Second,   the    statute      authorizing      the     Government    to   apply   to

intervene   in    this       case   requires    a    “certification”      that    Mr.
Flanagan’s case “is of general public importance.”                    42 U.S.C. §

2000e-5(f)(1).

     That is not to say that the EEOC’s report regarding the

charges   of     Mr.   Riccardo,      Ms.     James,    and    Ms.   Hightower     is

irrelevant.      Notice of the mischief at PAIHS triggered a duty in

the Civil Rights Division to investigate, and that is precisely

what it did.     (Declaration of Andrea Michelle Brown dated June 30,


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2016 (“Brown Decl.”), ¶ 2).          That investigation was completed in

November 2015, and the Civil Rights Division referred the three

educators’ EEOC charges to the U.S. Attorney’s Office for the

Southern District of New York.         (Brown Decl., ¶ 7; Declaration of

Caleb Hayes-Deats dated June 30, 3016 (“Second Hayes-Deats Decl.”),

¶ 3; Declaration of Caleb Hayes-Deats dated July 19, 2016 (“Third

Hayes-Deats Decl.”), attached as Exh. to Letter of Caleb Hayes-

Deats dated July 19, 2016 (“Hayes-Deats Letter”), ¶¶ 3-4).                    The

U.S. Attorney’s Office then performed its own investigation of the

charges, after which it sought permission from the Principal Deputy

Assistant     Attorney    General   for     the   Civil   Rights   Division    to

intervene in this action and to file a new action alleging a

pattern and practice of discrimination.3                  (Second Hayes-Deats

Decl., ¶¶ 4-5; Third Hayes-Deats Decl., ¶¶ 5-6, 11). In connection

with that application, the U.S. Attorney’s Office “described Mr.

Flanagan’s case as one of ‘general public importance.’” (Third

Hayes-Deats Decl., ¶ 12). The requested permission was obtained on

April 11, 2016.      (Second Hayes-Deats Decl., ¶ 5; Third Hayes-Deats

Decl., ¶ 13).      Thus, the Government’s delay was closer to a period

     3
        The investigations were not, perhaps, particularly
efficient, ping-ponging between the Civil Rights Division and the
U.S. Attorney’s Office, and marred by missing exhibits and,
apparently, some lack of cooperation among agencies. (Brown Decl.,
¶¶ 3-5). However, federal courts are loath to dictate to agencies
regarding their internal affairs, including their timetables. See,
e.g., Natural Resources Defense Council, Inc. v. U.S. Food and Drug
Administration, 884 F. Supp. 2d 108, 117-18 (S.D.N.Y. 2012).
Therefore, the defendants’ supposition that “the Government had
ample time to [investigate] and to move to intervene before
discovery closed on January 15, 2015[,] and certainly before
dispositive motions were fully submitted six months later on July
30, 2015” (Def. Memo. at 8) is not pertinent here.

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of two months than to the nineteen months the defendants claim.4

(Def. Memo. at 8).

     With the length of delay properly calculated, the likelihood

that it has prejudiced any of the existing parties disappears. Mr.

Flanagan has disavowed any prejudice to his interests, having

consented to the intervention.              (Flanagan Decl., ¶ 2).           The

individual defendants assert that they will “bear the uncertainty

and burden of continued litigation,” including some additional

period of discovery and potential motion practice during which “the

named individuals would be forced into a holding pattern.”                 (Def.

Memo. at 11).      This concern is overblown.      First, it is unclear how

the scant delay in the Government’s motion could be seen to cause

this prejudice. Second, even if this litigation were wrapped up in

the next few months, the individual defendants would still “bear

the uncertainty and burden of continued litigation,” as they are

currently named in at least two other actions involving similar

allegations of discrimination.          (Complaint, Riccardo v. New York
City Department of Education, No. 16 Civ. 4891 (S.D.N.Y. June 23,

2016), ¶¶ 6-7, 17, 21-31; Complaint, James v. New York City
Department of Education, No. 16 Civ. 4844 (S.D.N.Y. June 22, 2016),

     4
        The Government’s initial submissions regarding the
investigation were deficient, focusing on the claims of Ms. James,
Ms. Hightower, and Mr. Riccardo, with no mention of Mr. Flanagan’s
action -- the one in which it seeks to intervene. I therefore
ordered the Government to provide some background into the events
that led to the certification of Mr. Flanagan’s case as one of
“general public importance.” (Order dated July 14, 2016). The
Government’s warning that its decision on certification is
generally considered unreviewable (Hayes-Deats Letter at 1) is
unnecessary as I am evaluating the timeliness of the Government’s
actions, not the substance of the certification.

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¶¶ 12-15, 20, 22-23, 25, 27-28, 34-38, 42, 51). Moreover, they are

likely to become involved in the litigation the Government has

filed    against     the   NYC    DOE:      as    noted   above,   Ms.    James,   Ms.

Hightower, and Mr. Riccardo have all moved to intervene in that

case and add claims against Mr. Mendez and Ms. Zanca.                         See 42

U.S.C. § 2000e-5(f)(1); see Die Fliedermaus, 77 F. Supp. 2d at 469

(noting that an “aggrieved person” may intervene as of right in a

Title VII action brought by the Government and interpose individual

claims).     The individual defendants’ claims of prejudice are thus

undermined.       The motion is timely.

             3.     Undue Delay and Prejudice
        Rule 24(b)(3) requires a court weighing an application for

permissive intervention to determine whether intervention will

unduly delay or prejudice the adjudication of the existing parties’

rights. As the cases will be consolidated for trial, any complaint

that intervention will unduly delay the proceedings dissipates.

Additional        discovery      by   the        Government   will   not     postpone

adjudication of the individual defendants’ rights, as it will be

accomplished in tandem with the Federal Government Action.                         Nor
will intervention increase the defendants’ costs.                        The New York

City Law Department represents the NYC DOE and the individual

defendants in this action as well as the NYC DOE in the Federal

Government Action. Counsel for the defendants would thus engage in

the same discovery whether or not the Government intervened in this




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case.5      Finally,    the    defendants’   assertion    that   “it     will    be

difficult, if not impossible, to correct the perception by a jury,

not to mention the public, that the individual defendants are being

sued by the Government” (Def. Memo. at 15) fares no better here

than it did in relation to the Government’s consolidation request.

Again, Congress has expressly allowed the Government to intervene

in a civil action brought by an individual against government

entities     where    the   case   raises    an   issue   of   general    public

importance.        42 U.S.C. § 2000e-5(f)(1).        The defendants do not

explain why the Court will be unable to manage potential jury

misperceptions       with     clear,   targeted   instructions.        And      the

individual defendants do not explain why being sued under Title VII

by the Government would do greater damage to their reputation than

being sued by the four individual plaintiffs who have accused them

of racial discrimination, especially in light of the publicity that

these allegations have already received in the press.              See, e.g.,
Flanagan, 2015 WL 11142630, at *6.

              4.     Other Considerations

     In exercising its discretion to allow permissive intervention,
a Court may -- but need not -- examine other factors such as the

nature and extent of the proposed intervenor’s interests in the


     5
       The defendants make the curious claim that “the Government’s
intervention will result in embroiling the individually-named
defendants in a case where there are, and can be no, [sic] claims
asserted against them.”    (Def. Memo. at 17).    But allowing the
Government to intervene in this action will not “embroil” the
individual defendants in an additional case; rather, it will allow
the Government to assert a pattern and practice claim in this case.


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litigation, whether those interests are adequately represented by

existing parties, and whether intervention will contribute to full

development of underlying facts.          See, e.g., Spangler v. Pasadena

City Board of Education, 552 F.2d 1326, 1329 (9th Cir. 1977); Kruse

v. Wells Fargo Home Mortgage, Inc., No. 02 CV 3089, 2006 WL

1212512, at *4 (E.D.N.Y. May 3, 2006); see also Citizens Against

Casino Gambling in Erie County v. Hogen, 417 F. App’x 49, 50-51 (2d

Cir. 2011).

       The defendants have not explained why I should examine these

factors in this case.          And, indeed, Second Circuit precedent

indicates that these concerns might not be relevant where a right

to intervene is granted, either conditionally or unconditionally,

by statute.    See R Best Produce, Inc. v. Shulman-Rabin Marketing
Corp., 467 F.3d 238, 240 (2d Cir. 2006) (“Where, as here, a statute

does not provide either an unconditional or a conditional right to

intervene, ‘an applicant must (1) timely file an application, (2)

show an interest in the action, (3) demonstrate that the interest

may be impaired by the disposition of the action, and (4) show that

the interest is not protected adequately by the parties to the
action.’” (internal citation omitted) (quoting In re Bank of New

York Derivative Litigation, 320 F.3d 291, 300 (2d Cir. 2003))).

This   is   likely   because   in   such    cases   Congress   has   already

determined that the individual or entity that has been granted a

right to intervene has a sufficient interest in the existing

litigation to support that intervention.

       The defendants do not seem to recognize this.           For example,


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they argue that Title VII “makes no mention as to what extent the

government can seek to intervene,” and contend that Rule 24(b)(2)

-- which is directed at intervention by the Government when a claim

or defense is based on a statute the Government administers --

“provid[es] some parameters” as to that extent.            (Def. Memo. at

18).   However, neither the statute nor the rule indicates that the

“extent” of intervention is somehow limited.         The statute requires

only that the case “involv[e]” a government, governmental agency,

or political subdivision, 42 U.S.C. § 2000e-5(f)(1); the rule

requires only that the action contain a claim or defense based on

a statute administered by the putative intervening agency, Fed. R.

Civ. P. 24(b)(2).        That is, the statute and rule appear to

contemplate that the Government will intervene in litigation that

includes parties other than a governmental entity and claims other

than those brought under statutes that it administers; but neither

suggests that this limits the Government’s interest such that its

request to intervene should be denied.          For these reasons, if I

were to examine the sufficiency of the Government’s interest in

this litigation, I would find that intervention was proper. See 7C
Charles Alan Wright et al., Federal Practice and Procedure § 1912
(3d ed. 2007) (“Underlying . . . [Rule 24(b)(2)] is a broad concern

that courts should mold their traditional methods in order to

advance the public interest.” (footnote omitted)).

Conclusion

       The Government’s motion (Docket no. 58) seeking to intervene

in this action and to consolidate it with United States v. New York


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